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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

In re:                                                         Case No. 20-19017 (RG)

Health Tech Harbor, Inc.,                                      Honorable Rosemary Gambardella

             Debtor.                                          Chapter 7
_________________________________/
                                                              Hearing Date: June 21, 2022
                                                                            at 10:00 a.m.

                          DECLARATION IN SUPPORT OF
                       CREDITOR RAMACHANDRA MALYA’S
                     OBJECTION TO MOTION FOR ENTRY OF AN
              ORDER APPROVING SETTLEMENT AND FOR RELATED RELIEF


         Lance Friedman, a turnaround specialist that has been engaged in connection with this

case by Creditor Ramachandra Malya (“Malya”), declares the following under penalty of

perjury:

         1.      I am over the age of Eighteen (18) years. I submit this declaration in support of

Objection to Motion for Entry of an Order Approving Settlement and for Related Relief (Docket

No. 139) (“Objection”). Except where otherwise indicated, I have personal, firsthand knowledge

of the facts set forth herein. If called on to testify as a witness in this matter, I could and would do

so competently.

         2.      I am a well-known, and frequently called upon, expert in corporate turnarounds,

reorganizations, corporate restructurings, and capital markets activities and formation by dissident

and minority shareholder groups. My clients include investment banks and law firms, including

without limitation Kramer Levin, Sichenzia Ross and Oberon Securities and Via Acquisition

Corp., to name a few. I have been involved with over 100 investor transactions valued in the

aggregate amount of over several billion dollars, including mergers and acquisitions, private

placements, IPO’s and public transactions, reverse mergers and PIPE transactions, private equity
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and structured debt financings. Attached hereto for the Court’s perusal is my Curriculum Vitae.

        3.      In my capacity as an expert in this area, I am acting as a retained consultant for

Malya, a prominent creditor in the above-captioned chapter 7 case. I was engaged by Malya to

review the financial structure and possible irregularities of the investment transaction that is the

subject of the Objection, including its violation of various fraud-based Sections of the Securities

Act of 1934, as amended, including but not limited to, Section 5(a) and (b), and Section 10b (5),

as well as, and Regulation D governing private investment transactions under an exemption from

registration.

        4.      After my good faith review of the financial materials that were available to me, I

believe that the above-captioned debtor (“Debtor”) was formed by Lawrence Margolis

(“Margolis”) as a means to (i) shield himself and Personal RX from any liability and/or to

circumvent repayment to investors, (ii) avoid fulfilling the promises of equity in Personal RX to

investors of the Debtor, including Malya, and, (iii) unjustly enrich himself by using all the

investment funds raised by the Debtor in the amount of approximately $8.4M.

        5.      Furthermore, my review of the public records indicates that Margolis failed to

properly file Blue Sky and Form D notifications required for Regulation D Private Placements for

either the Debtor or Personal RX (the intended beneficiary of the investor funds). In this context,

there was no material disclosure of risk factors and other required disclosure of corporate

considerations, including without limitation, the financial condition of Personal RX. Such required

forms of disclosures should have included the large amount of unpaid employment taxes and a

specific use of investment proceeds.

        6.      As part of my investigation, I have also interviewed former key employee(s) of

Personal RX, including but not limited to Mr. James Hennig. These interviews provided me with




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sufficient support for my recent initiation of a financial complaint with the financial crimes’ unit

of the FBI, along with the SEC, requesting a thorough formal investigation.

       7.      In accordance with section 1746 of Title 28 of the United States Code, I declare

under penalty of perjury under the laws of the United States of America that the foregoing is true

and correct.


     21 2022
June ___,
                                      By: _____________________________
                                          Lance Friedman




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                                               Lance Friedman
                                                           CEO and Turnaround, Capital Markets and Growth Specialist


                           352-234-5900             Jacksonville, Florida        lfriedman@bca-advisors.com            www.linkedin.com/in/lance-b
              East Coast based expert advisor and principal at Blackstone Capital Advisors, Inc., which specializes in the identification of venture and mature
               capital markets opportunities, capital formation services, merger and acquisitions, and advisory services, including but not limited to interim
              operational support services, related to bankruptcy and corporate reorganization and expert witness litigation support in complex commercial
                                                                                        matters.

                              LEADERSHIP                                             EXECUTION                                           INFLUENCE

               Specialized Guidance through Complex and                     Over $1B in Acquisition and Roll Up             Strategic Network of Private, Public and
                         Challenging Transactions                                       Strategies                            Institutional Investment Community

                 Recruitment and Motivation of Diverse,               Career Capital Raising Activities in Excess of      Implementation of New Corporate Culture
                               Talented Teams                                              $1B                                    to Achieve Maximum Results

                Cross Organizational Initiatives including                   Successful turnaround of multiple            Tactical Communication with Key Partners,
                    Community Marketing, Acquisition                   organizations to profitability and accretive           Staff, Shareholders, and Investment
                   Strategy, and Nationwide Roll-out of                                    exits                                           Community
                              Company Services



E D U C AT I O N                                                                         R E L E VA N T W O R K E X P E R I E N C E

1983 - 1986                                                                              June 2020 - Present

Doctor of Law                                                                            Chief Executive Officer
Yeshiva University                                                                       First Choice Health Care
Benjamin Cardozo School of Law                                                           Melbourne, Florida

Moot Court Trial Advocacy Champion                                                       Led reorganization of the company through Chapter 11 bankruptcy resulting from
                                                                                         SEC and U.S. Attorney's indictment of former CEO. Eliminated $35M of liabilities for
                                                                                         $500K along with termination of 17 lawsuits. Hired new surgeons and physicians at a
1979 - 1983                                                                              level in excess of any previous CEO. Initiated a roll-up strategy with the initial
Bachelor of Science                                                                      acquisition under contract and two in pipeline to execute LOIs. Led successful capital
                                                                                         raise. Initiated relisting efforts for the NASDAQ. Leading the rebranding effort for
American University
                                                                                         company. Creation and roll-out of national brand and orthopedic and rehabilitative
BS, Political Science and Government, Magna Cum Laude                                    treatment centers of excellence.
National Political Science Honor Society
                                                                                         1998-01 - present
SKILLS
                                                                                         Co-Founder
Corporate: Merger and Acquisition
                                                                                         Blackstone Capital Advisors, Inc
Expert in Diligence, Transaction Valuation Integration, and Consolidation                West Palm Beach, Florida
Synergy
                                                                                         Responsible for advisory services for capital market identification of capital resources,
                                                                                         capital formation, strategic alliance and vision execution and bankruptcy and
Financial Strategy
                                                                                         restructuring as well as litigation support. Advisory and execution services for merger
Expert Advisement on Reverse Mergers, PIPE Transactions, M&A, Capital                    and acquisition and roll-up strategies. Provide C-level experience to leadership teams.
Raising, and Alternative Financing
                                                                                         2019 - 2020

Workforce Reinvigoration                                                                 Chief Executive Officer
Diverse Recruiting, Talent Upgrading, Performance Improvement Strategy,                  Instaprin Pharmaceuticals Inc.
Motivational Communication and Leadership                                                Greater New York City Area

                                                                                         Turnaround of biopharma business with shepherding of resolution of regulatory
Bankruptcy Stewardship                                                                   issues allowing shareholders to maintain investment value. Secured IP and patents

Expert in Corporate Turnarounds including Bankruptcy Reorganization,
                                                                                         under a consolidated corporate control, coordinated legal teams to promote a
Financing, and Liquidation.                                                              coherent legal strategy with regulators, and cash managed operations until new
                                                                                         ownership group handoff.
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                                                                               Partner and Head of Investment Banking
Ability to Create New Lines of Revenue, Operations and Cost Efficiencies,
Acquisition Strategy, Synergistic Business Combinations, Rebranding, Complex   Corinthian Partners L.L.C
Integrations
                                                                               Greater New York City Area
C E RT I F I C AT I O N S                                                      Provided advisory and capital raising services for domestic and international
                                                                               companies with a concentration on Asian based companies in assisting them in
Penn State University, School of Agriculture                                   accessing the US capital markets. Developed short and long term product and service
Retort Operations, Food Technology and Processing                              strategies through channels and partnerships to drive revenue and grow global brand
                                                                               footprint.


                                                                               2004-01 - 2010-12

                                                                               Chief Operating Officer
                                                                               Fletcher-Flora Healthcare Systems
                                                                               Anaheim, California

                                                                               Led capital raising activities and merger and acquisition activities for the Company
                                                                               build out and subsequently sold to Merger Healthcare in 2010.


                                                                               2008-01 - 2010-12

                                                                               Managing Director Investment Banking
                                                                               Laidlaw and Company (UK) Ltd
                                                                               Greater New York City Area
                                                                               Provided advisory and capital raising services for domestic and international
                                                                               companies with a concentration on healthcare, mining and international businesses in
                                                                               accessing the US capital markets. Developed short and long term product and service
                                                                               strategies through channels and partnerships to drive revenue and grow global brand
                                                                               footprint.


                                                                               2006-01 - 2008-12

                                                                               Managing Director Investment Banking
                                                                               Joseph Gunnar & Co., LLC
                                                                               Greater New York City Area
                                                                               Provided advisory and capital raising services for domestic and international
                                                                               companies. Developed short and long term product and service strategies through
                                                                               channels and partnerships to drive revenue and grow global brand footprint.


                                                                               2004-01 - 2005-12

                                                                               Managing Director and Partner, Healthcare Practice
                                                                               EGL VENTURES, INC
                                                                               Greater Atlanta Area
                                                                               Managed potential healthcare technology and services investments. Work with
                                                                               management in developing and prioritizing portfolio company business plans and
                                                                               initiatives.


                                                                               2001-01 - 2003-12

                                                                               EVP Strategic Alliances and Capital Markets
                                                                               Vertisoft Corp
                                                                               Greater Atlanta Area
                                                                               Responsibilities included management of the company's strategic partnerships, and
                                                                               client agreements, as well as, raising of growth capital with investment banks, directly
                                                                               resulting in the sale of the company to Optio Software in 2003.


                                                                               1998-01 - 2001-12

                                                                               EVP of Business Development and Capital Markets; Chief
                                                                               Legal Officer
                                                                               Wireless Md
                                                                               Greater Atlanta Area
                                                                               Concurrent role. Structured and managed the capital raising activities for the
                                                                               company which culminated in the sale of the company to Healthcare.com in 2001.
                                                                               Spearheaded strategic partnerships including all legal agreements and M&A activity.
